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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

 DAVID FLEURY and CHRISTOPHER
 NUNNERY, individually and on behalf of
 similarly situated individuals,

                   Plaintiff,                             Case No. 1:20-cv-00390

          v.                                              Hon. Jorge L. Alonso

 UNION PACIFIC RAILROAD COMPANY,                          Magistrate Judge Jeffrey Cole
 a Delaware corporation,

                   Defendant.

        DEFENDANT UNION PACIFIC RAILROAD COMPANY’S OPPOSITION TO
      PLAINTIFFS’ MOTION TO COMPEL PRODUCITON OF DATA IN DISCOVERY

         Defendant Union Pacific Railroad Company, for its Opposition to Plaintiffs’ Motion to

Compel Production of Data in Discovery (Doc. #156), states as follows:

I.       INTRODUCTION

         Under the guise of a motion to compel information to which Plaintiffs claim, at length, that

they are entitled, Plaintiffs perhaps hope this Court will not recognize that what Plaintiffs really

seek in their Motion is far beyond the scope of Plaintiffs’ own over-broad class definition and is

beyond the scope of any LR 37.2 meet and confer that the parties held. Plaintiffs further seek that

this Court make fundamental class determinations that far exceed the scope of the referral

regarding discovery. For all these reasons, as outlined below, Plaintiffs’ Motion should be denied.

II.      BACKGROUND FACTS

         As outlined in Plaintiffs’ Motion, this case involves alleged violations of the Illinois

Biometric Information Privacy Act (“BIPA”). In short, Plaintiffs claim that Union Pacific violated

BIPA through its use of an Auto-Gate System at “Illinois railyards owned and operated by [Union




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Pacific].” (Doc. #135 ¶ 19). In their Second Amended Class Action Complaint, Plaintiffs seeks to

bring this action on behalf of themselves and “similarly situated individuals” defined as follows:

        All persons who, after December 13, 2014, had their fingerprints registered or
        scanned by Defendant’s Automatic Gate System in Illinois without first providing
        written consent to Defendant.

(Doc. #135 ¶ 28).

        Ostensibly to that end, Plaintiffs seek the production of six Union Pacific databases that

purportedly contain “Class Data” and “Consent Data” (1) for alleged use by Plaintiffs’ expert (i) to

opine on whether Union Pacific violated BIPA and (ii) to identify the class; and (2) to prove the

elements of Fed. R. Civ. P. 23 for class certification. In their Motion, Plaintiffs cite to several

“meet and confers” to discuss the production of these databases, and now seek this Court’s

intervention to order them to be produced.

III.    ARGUMENT

        As an initial matter, Plaintiffs’ motion is mooted by the fact that Union Pacific already

identified all the categories of data contained in its databases in response to Plaintiffs’

Interrogatory No. 12 (Doc. #156-6 at 7-16) and Union Pacific produced a class list of over 23,000

drivers to Plaintiffs on May 26, 2023.1 Furthermore, Union Pacific had already provided the

relevant data for Plaintiff Fleury2 on February 9, 2023. (Motion, Ex. B, Doc. #156-2 at 2). Plaintiffs

thus have sufficient information to determine what information is stored in the databases, and the

class list is certainly sufficient to permit Plaintiffs to identify the class. Further, although Union

Pacific will not waive its defenses to class certification, Plaintiffs never needed the databases to


1
  The class list shows the following information for all drivers with an Illinois Commercial Driver’s License
(“CDL”) who registered at one of Union Pacific’s Auto-Gate Systems in Illinois: Driver Name, CDL
Number, First Illinois Scan Date, First Illinois Scan Carrier, First Illinois Scan Ramp, Last Illinois Scan
Date, Last Illinois Scan Carrier, Last Illinois Scan Ramp, Driver Consent Value, and Consent Timestamp.
2
  Union Pacific was unable to locate any records of a driver with an Illinois CDL connected to Plaintiff
Nunnery having ever accessed any of Union Pacific’s intermodal facilities within Illinois. (Doc. #146-2).

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demonstrate that “the information gathered from each putative Class member is similar” or for

demonstrating ascertainability, as they argue.

        Undeterred, Plaintiffs claim that the databases they seek have been requested before and

the subject of multiple “meet and confer” sessions between counsel. They have not. Plaintiffs

claim that the databases are critical to their assessment of class data and directly relate not only to

the issues in the case but their retained expert’s opinions. They assuredly are not. Finally,

Plaintiffs omit the fundamental issue that the information they seek is premised on a class

definition that is beyond the scope of this Court’s referral. In the end, what Plaintiffs do not tell

this Court is that -- according to the very documents attached to Plaintiffs’ Motion -- the Central

Driver Database and Driver Master File3 contain far more information than even Plaintiffs’ over-

expansive class definition. Plaintiffs can establish no basis to compel such production.

        A.         The databases are not within the scope of Plaintiffs’ discovery requests as
                   negotiated by the parties during the meet and confer process

        As an initial matter, Plaintiffs’ Motion is procedurally improper. Plaintiff’s Motion to

Compel ignores the history of the parties’ discovery conferences by adding a belated request for

databases that have neither been requested nor discussed in a meet and confer, ostensibly for use

in expert discovery. Plaintiffs argue the following three discovery requests support the production

of the databases:

        DOCUMENT REQUEST NO. 4: All Documents which Identify all individuals
        whose Biometric Identifiers or Biometric Information was collected, captured,
        stored, and/or used by You or on Your Behalf during the Relevant Time Period.

        DOCUMENT REQUEST NO. 5: All Documents Related To any written consent
        Related To the capture, collection, storage, use, or dissemination of biometrics by
        You or on Your behalf.



3
 Plaintiff does not allege that Union Pacific’s Central Driver Database or Driver Master File are stored or
kept in Illinois.

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        DOCUMENT REQUEST NO. 8: Any Documents, Communications, and
        Correspondence Related To Biometrics.

        On their face, none of the requests seek production of databases. Union Pacific timely

objected to each request, and the parties conferred as to each. Those conversations – meet and

confers – solely involved data, not databases. In Fleury’s4 first discovery letter to Union Pacific,

he did not contend he sought any database. Rather, stated that with Document Request No. 4 he

merely sought data sufficient to identify the members of the putative class and to support a

determination on class certification (the so-called “Class Data”). Union Pacific has provided

that information. Union Pacific produced a class list and identified the categories of data in its

databases. Union Pacific even produced the finger scan template for Fleury and offered to stipulate

that the Auto-Gate System (“AGS”) creates a finger-scan template using the same process for each

person that enrolls.5 Regardless, Plaintiffs have recently decided to expand Document Request No.

4’s reach beyond what the Parties ever contemplated or discussed, to seek production of entire

“databases,” in contradiction to the parties’ discussions and efforts to resolve this issue.

        In the parties’ correspondence and during the parties’ discussions over these three

Requests, Plaintiffs never contended that the databases were necessary to support their expert’s

opinion on whether BIPA was violated or to identify the class. This is a new argument, raised

for the first time in Plaintiffs’ Motion to Compel. Indeed, had Plaintiffs actually raised the issue

of the Central Driver Database and Driver Master File in previous discussions, Union Pacific could

have pointed out that the majority of locations from which information is drawn for those two

databases are not even located in Illinois, thus making those requests extend far beyond even



4
  “Fleury” is used in lieu of “Plaintiffs” here because Nunnery had yet to be added to the Complaint at the
time.
5
  This offer undermines Plaintiffs’ argument that the databases are important “to show that the information
gathered from each putative Class member is similar, if not identical, in nature.” (Motion at 7).

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Plaintiffs’ overbroad class definition. Plaintiffs’ Motion does not suggest otherwise. For that

reason alone, Plaintiffs’ Motion should be denied as procedurally improper.6

        B.         The Court should deny Plaintiffs’ request to compel irrelevant information

        The vast majority of sources of information for the databases that Plaintiffs seek are beyond

the scope of Plaintiffs’ claim definition and thus irrelevant to Plaintiff’s claims. Rule 26(b)(1)

limits discovery to information “that is relevant to any party’s claim or defense.” Fed. R. Civ. P.

26(b)(1). See Motorola Solutions, Inc. v. Hytera Communications Corp., 365 F. Supp. 3d 916, 924

(N.D. Ill. 2019) (“[r]elevance focuses on the claims and defenses in the case, not its general subject

matter"). While relevance is the starting point, “relevance alone does not translate into automatic

discoverability under Federal Rule of Civil Procedure 26.” Gebka v. Allstate Corp., No. 19-CV-

06662, 2021 WL 825612, at *2 (N.D. Ill. Mar. 4, 2021). Factors such as proportionality can shield

otherwise relevant evidence from discovery. Id.

                   1.    Production of the databases far beyond the scope of even Plaintiffs’
                         class definition is not proportional to the needs of the case

        As set forth in detail above, Union Pacific has already identified each category of data in

the databases for Plaintiff and produced a class list identifying the over 23,000 Illinois drivers who

registered via AGS at one of Union Pacific’s intermodal facilities in Illinois. Union Pacific told

Plaintiffs that it would provide this information and it did. Undeterred -- and disregarding Union

Pacific’s representations -- Plaintiffs proceeded to file the instant Motion.

        Yet Plaintiffs have not explained why the information Union Pacific agreed to and did

produce is insufficient to support their claims. Plaintiffs have never articulated a compelling need



6
 Plaintiffs also argue -- at some length, and supported by a declaration from their putative expert -- that the
databases are essential for expert discovery. Not only is this similarly an entirely new argument raised for
the first time in a motion to compel, it is decidedly premature given that expert discovery has not
commenced.

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for, for example, each driver’s birthdate or an image of their CDL, when that information has no

bearing on a BIPA claim. Nor have Plaintiffs shown why they require data on the many drivers in

Union Pacific’s Central Driver Database and Driver Master File who do not meet their class

definition of persons who, during the relevant period, registered or had their finger scanned at an

AGS in Illinois without first providing consent. (Doc. #135 at ¶ 28).

        Plaintiffs also contend that the information is needed to establish the elements of class

certification. Not so. Again, Union Pacific reserves its defenses to class certification, but that does

not mean Plaintiffs are free to obtain irrelevant information. As set forth above, Plaintiffs already

have the class list, which is all they should need to “show[] [whether] that the identities of the

putative Class members are specifically ascertainable.” (Motion at 7). Further, Plaintiffs argue they

need the databases to show that the information gathered from each putative class member is

similar, but Plaintiffs failed to inform the Court that Union Pacific already provided to Plaintiffs

all of the categories of information stored, from which Plaintiffs’ retained expert can assuredly

opine on whether it meets the definition of “biometric information.”

        Plaintiffs’ Motion is betrayed by the very documents on which it is based. Plaintiffs

contend that “[t]he specific process by which drivers are registered into Union Pacific’s AGS

system and have their information stored in the Databases is described in detail in an AGS Clerk

Console Reference Manual provided by Union Pacific in discovery. See Exhibit H … .” (Doc.

#156 at 5) (emphasis added). Plaintiffs do not explain how a document that uses neither the word

“database” nor the name “Union Pacific” can “describe in detail” how drivers are registered into

Union Pacific’s system. The fact is -- again, according to the very documents that Plaintiffs’ cite

in support of their demand for this information -- that the Central Driver Database receives

information from all of Union Pacific’s AGS databases, the majority of which are located outside



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of Illinois.7 As set forth in more detail below, because BIPA does not apply extraterritorially, none

of the additional information Plaintiffs seek in compelling the databases is relevant.

        This then leads to Plaintiffs’ final argument -- because a different defendant in a different

case produced a driver database, similar production should be compelled here. (Motion at 8).

Whether a different defendant in a different case under a different set of facts produced its database

is irrelevant. The fact remains that Plaintiffs seek to unnecessarily expand the scope of discovery

beyond all proportionality with its claims, and without any reasonable justification. The Court

should deny its Motion on that basis alone.

                   2.    The databases contain irrelevant information regarding drivers with
                         no connection to Illinois

        Keeping with their theme of not telling this Court the whole story, the very documents on

which Plaintiffs base their claim for the databases reveals that they contain information far beyond

the borders of Illinois, and thus well outside even Plaintiffs’ over-broad class definition Illinois

statutes are “without extraterritorial effect unless a clear intent in this respect appears from the

express provisions of the statute.” Avery v. State Farm Mut. Ins. Co., 835 N.E.2d 801, 852 (Ill.

2005). BIPA does not express such an intent, and thus it does not have extraterritorial effect. See

Rivera v. Google Inc., 238 F. Supp. 3d 1088, 1100 (N.D. Ill. 2017). A plaintiff must therefore

demonstrate that any alleged BIPA violations took place in Illinois. Id.; see also McGoveran v.

Amazon Web Servs., Inc., No. CV 20-1399-LPS, 2021 WL 4502089, at *6 (D. Del. Sept. 30, 2021)

(dismissing BIPA claims based on alleged storage of Illinois resident’s biometric information in

data centers outside of Illinois because BIPA does not apply extraterritorially).



7
   The document on which Plaintiffs rely to establish “the linkage between the AGS site databases and the
Central Driver Database to the Union Pacific Driver Master File” (Doc. #156-7 at 5) reflects on its face that
two-thirds of the information in the Central Driver Database -- and, in turn, the Union Pacific Driver Master
File -- are not from “Defendant’s railyards in Illinois” (Doc. #156 at 1).

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        As a preliminary matter, Union Pacific disputes that it captured, collected, stored, obtained,

or transferred any biometric identifiers or biometric information as part of its AGS. But even if

Union Pacific did, such actions did not violate BIPA to the extent they occurred outside of Illinois

or involve drivers from other states. Yet Plaintiffs’ Motion omits that 6 of the 9 components of the

Central Drive Database and Driver Master File -- again, according to documents that Plaintiffs

provide this Court in support of their Motion -- are outside Illinois. Plaintiffs do not and cannot

articulate any reasonable basis for such an expansion of the data they claim to need to support their

claim, and do not even pretend to in their Motion.

        C.         The issue of class scope is beyond the scope of discovery and thus beyond the
                   scope of this Court’s referral

        Setting aside every other deficiency in Plaintiffs’ Motion, there is the fundamental issue

that what Plaintiffs seek is premised on an expansive class definition, which is a substantive issue

for a Court to decide. Plaintiff’s Motion to Compel seeks to exceed the scope of the Court’s referral

to the Magistrate Judge for discovery supervision by seeking a definitive ruling on the scope of

the putative class –namely whether it includes drivers with a commercial driver’s license (“CDL”)

from outside of Illinois. Respectfully, that issue may only be decided by the District Judge.

        As background, upon the removal of this matter to this Court in January 2020, this case

was assigned to Judge Alonso and designated to Magistrate Judge Cole pursuant to 28 U.S. Code

§ 636(b) and Local Rule 72.1. On June 2, 2022, the Court specifically referred this case to

Magistrate’s calendar “for the purpose of holding proceedings related to: discovery supervision;

settlement conference.” (Doc. #90).

        Under 28 U.S. Code § 636(b), a magistrate judge is prohibited from determining a motion

“to dismiss or to permit maintenance of a class action[.]” See also Fed. R. Civ. P. 72 (limiting

magistrate judge’s authority to issue orders on nondispositive matters). The limits of a magistrate’s


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referral are regularly enforced. See e.g., Campbell v. HSA Managed Care Sys., Inc., No. 97 C 1622,

1998 WL 417505, at *6 (N.D. Ill. July 21, 1998) (sustaining objection to magistrate’s decision on

basis it was outside scope of referral); 3Com Corp. v. D-Link Sys., Inc., No. C 03-2177 VRW,

2006 WL 8457955, at *1 (N.D. Cal. Jan. 24, 2006) (vacating magistrate decision as beyond scope

of referral). Here, Plaintiffs seek a ruling on the extraterritorial application of BIPA to drivers with

out-of-state (i.e., non-Illinois) CDLs. Such a ruling would ultimately become determinative of

Plaintiff’s class certification motion, and thus is far beyond the scope of the referral for discovery

supervision. The Court should thus deny Plaintiffs’ improper Motion to Compel.

IV.     CONCLUSION

        For the foregoing reasons, Union Pacific respectfully requests that this Court deny

Plaintiffs’ Motion to Compel Production of Data in Discovery.

 Dated: May 30, 2023                             Respectfully submitted,
                                                 UNION PACIFIC RAILROAD COMPANY

                                                  /s/ Christopher S. Hennessy
                                                 One of Its Attorneys

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